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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION
_________________________________
                                     )
In re: Equifax, Inc. Customer        ) MDL Docket No. 2800
Data Security Breach Litigation      ) No. 1:17-md-2800-TWT
                                     )
                                     ) This document relates to:
                                     ) City of Chicago v. Equifax, Inc.
                                     ) No. 1:18-cv-1470-TWT
                                     )
                                     ) Chief Judge Thomas W. Thrash, Jr.
                                     )
_________________________________ )

                      CERTIFICATE OF CONFERENCE

      Pursuant to Case Management Orders 1 and 5, I certify that I conferred with

counsel for Defendant Equifax, Inc. on August 28, 2019 regarding Plaintiff City of

Chicago’s Motion for Reconsideration (the “Motion”). Counsel for Equifax

informed me that Equifax opposes the Motion. I further certify that on August 29,

2019, counsel for the Consumer Plaintiffs informed me that the Consumer Plaintiffs

take no position on the Motion. Finally, I certify that on August 30, 2019, counsel

for the Financial Institution Plaintiffs informed me that the Financial Institution

Plaintiffs take no position on the Motion.

Dated: September 3, 2019               Respectfully submitted,

                                       /s/ Stephen J. Kane
                                       Stephen J. Kane
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